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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OHIO
                            EASTERN DIVISION


                          )
                          )
UNITED STATES OF AMERICA, )
                          )
             Plaintiff,   )
                          )                   CASE NO.: 1:21-cv-00564
                          )
             vs.          )                   JUDGE CHRISTOPHER A. BOYKO
                          )
                          )
REAL PROPERTY LOCATED AT  )
100 MOUNTAIN VIEW DRIVE,  )
MORELAND HILLS, OHIO      )
CUYAHOGA COUNTY PERMANENT)
PARCEL NOS: 913-06-001,   )
913-06-005, et al.,       )
                          )
             Defendants.  )
                          )
      AGREED MOTION FOR EXTENSION OF TIME TO FILE
      ANSWER OR OTHERWISE PLEAD AND INCORPORATED
      MEMORANDUM OF LAW
      NOW COMES Eyton Senders, on behalf of himself and 100 Mountain View

LLC, Corner Green LLC, ES Global Real Estate Holdings LLC, and N. Laurel

Avenue Property Holdings LLC (collectively “Claimants”), and hereby respectfully

moves for a thirty-one day extension of time to and including July 30, 2021 for

Claimants to answer or otherwise plead, and in support states as follows:


      1. Claimants filed verified claims under seal in this action on April 9, 2021.

      2. This Court previously extended the time to answer the Complaint or

         otherwise plead to June 29, 2021.


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      3. The Government has moved to stay this case in its entirety, including but

          not limited to the obligation to answer the Complaint. This Motion is

          currently pending before this Court.

      4. Claimants respectfully seek a further extension of the deadline to answer

          or otherwise plead to July 30, 2021. Claimants submit that the requested

          extension is in the interests of justice and will be used in a continuing

          effort to narrow the scope of issues to be decided by this Court.

      5. The undersigned counsel contacted Assistant United States Attorney,

          Henry F. DeBaggis, who agrees to the relief sought.


                    INCORPORATED MEMORANDUM OF LAW

      This Court may in its discretion extend the time for filing an answer to a civil

forfeiture complaint. See United States v. $11,320.00 in United States Currency,

880 F. Supp. 2d 1310, 1323 (N.D. Ga. 2012); accord, United States v. $12,126.00 in

United States Currency, 337 Fed. Appx. 818, *1 (11th Cir. 2009) (“a district court has

discretion to extend the filing period…”). In this case, an extension of time will

allow the Claimants further time to reach an informal resolution of their claims

before this Court. The Government should suffer no prejudice from the requested

extension of time, and in fact has expressly agreed to this allowance (and has a

motion to stay the entire action pending before this Court).




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WHEREFORE, for the foregoing reasons, the Claimants respectfully submit that

this Court should grant a further extension of time to file an answer or otherwise

plead to and including July 30, 2021.


Date: June 29, 2021                     Respectfully submitted,


                                        /S/_Edmund W. Searby___________________
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                                        Attorney for Claimants




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                          CERTIFICATE OF SERVICE


      I hereby certify that on this 29th day of June, 2021, I served this Agreed

Motion for Extension of Time to File Answer or Otherwise Plead and Incorporated

Memorandum of Law on all parties in the case via this Court’s CM/ECF system,

which will serve a copy on all counsel of record.




                                               __/s/ Edmund W. Searby




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